Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 1 of 11 Page ID #:669




 1   Aaron D. Aftergood (239853)
       aaron@aftergoodesq.com
 2   THE AFTERGOOD LAW FIRM
     1880 Century Park East, Suite 200
 3   Los Angeles, CA 90067
     Telephone: (310) 550-5221
 4   Facsimile: (310) 496-2840
 5   [Additional counsel appearing on signature page]
 6   Attorneys for Plaintiff and the Classes
 7
                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9    Erica Reiners, individually and on
      behalf of all others similarly situated,      Case No. 2:20-cv-06587-SB-ADS
10
                                 Plaintiff,         STIPULATION ON MOTION TO
11                                                  COMPEL COMPLIANCE WITH
      v.                                            SUBPOENA
12
      Chou Team Realty, LLC d/b/a                   [Discovery Document: Referred to
13    MonsterLoans, a California limited
      liability company, Lend Tech Loans,           Magistrate Judge Autumn D. Spaeth]
14    Inc., a California corporation, Sean
      Cowell, an individual, Thomas Chou,           Date: December 8, 2021
15    an individual, Mikael Van Loon, an            Time: 10:00 a.m.
      individual, Jawad Nesheiwat, an               Place: Courtroom 6B, 6th Floor
16    individual, and Eduardo Martinez, an          Complaint filed: July 23, 2020
      individual,
17                                                  Discovery Cutoff: December 23, 2021
                                 Defendants.
18
19
20
21
22
23
24
25
26
27
28
                    STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 2 of 11 Page ID #:670




 1   I.     INTRODUCTORY STATEMENTS
 2          A.    Plaintiff’s Introductory Statement
 3          This motion seeks to compel third-party Sales Speek, Inc. (“Sales Speek”) to
 4   provide a complete response to the subpoena issued to it by Plaintiff Reiners in this
 5   action. (See “Sales Speek Subpoena,” a true and accurate copy of which is attached
 6   hereto as Exhibit A.) Despite being properly served on September 2, 2021, Sales
 7   Speek has refused to respond to the subpoena in any fashion. Instead, Sales Speek
 8   has decided to stake out the dubious position that it doesn’t exist. Put simply, Sales
 9   Speek is a registered corporation with the California Secretary of State and has
10   entered into contractual agreements in this State. As such, the Court should enter an
11   Order compelling Sales Speek to fully comply with subpoena and order Sales Speek
12   to show cause as to why it should not be held in contempt.
13          B.    Sales Speek’s Introductory Statement
14          On November 15, 2021, Mr. Nesheiwat served plaintiff with a verified
15   response to the Sale Seek Subpoena, a true and correct copy of which is attached
16   hereto as Exhibit H, incorporated herein by this reference, as though fully set forth
17   herein. Accordingly, plaintiff’s motion is moot.
18   II.    ISSUES IN DISPUTE
19          1.    Whether Sales Speek, Inc. should be compelled to provide a response
20   to the subject subpoena.
21          2.    Whether the Court should issue an order to show cause why Sales
22   Speek, Inc. should not be held in contempt.
23   III.   PARTIES’ CONTENTIONS AND POINTS OF AUTHORITIES
24          A.    Plaintiff’s contentions and points of authorities
25          Plaintiff properly served the Sales Speek Subpoena, which compelled
26   compliance within this District. To date, Sales Speek has neither provided any
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -1-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 3 of 11 Page ID #:671




 1   response nor served any objections to the subpoena. As a result, and as explained
 2   further below, the Court should issue an order compelling compliance with the
 3   Sales Speek Subpoena and issue an order to show cause as to why Sales Speek
 4   should not be held in contempt.
 5                 1.     Relevant Factual Background.
 6          On July 23, 2020, Plaintiff filed the instant action alleging wide-scale
 7   violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681b, et seq. (“FCRA” or
 8   “Act”). (Dkt. 1.) Specifically, between 2017 and 2019, Defendants, including
 9   Defendant Jawad Nesheiwat (“Nesheiwat”), engaged in a scheme whereby they
10   illegally obtained consumer reports absent a permissible purpose so they could be
11   used to solicit student loan borrowers to purchase fee-based document preparation
12   services. (Id. ¶ 5-6.)
13          To conceal their unlawful activity, Defendants solicited the borrowers to
14   purchase the preparation services through a web of student loan consolidation
15   entities. (Id. ¶ 52.) For a significant fee, these entities offered to complete
16   documents on behalf of borrowers to consolidate their student loans—paperwork
17   that can be easily completed for free via the Department of Education’s website.
18   (Id. ¶ 53.) Defendants would then receive a share of the profits from the fees
19   collected by the student loan consolidation entities. (Id. ¶ 56.) The profits were
20   distributed to the Defendants who possessed ownership interests through separate
21   entities in the debt relief companies. (Id.)
22          In discovery, it was revealed that Defendant Nesheiwat possessed an
23   ownership interest in several of the student loan consolidation entities through an
24   entity known as Sales Speek, Inc. (“Sales Speek”). (SLE Agreements, attached
25   hereto as Ex. B, pgs. 24, 59; see also Declaration of Taylor T. Smith (“Smith
26   Decl.”) ¶ 3, attached hereto as Ex. C.) Nesheiwat is the president and registered
27
                        STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                               -2-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 4 of 11 Page ID #:672




 1   agent for Sales Speek. (Ex. B, pgs. 24, 59; Smith Decl. ¶ 4.)
 2         On June 15, 2021, Plaintiff issued a subpoena to produce documents,
 3   information, or objects or to permit inspection of premises in a civil action directed
 4   to Sales Speek, Inc. (Smith Decl. ¶ 5.) Despite numerous attempts to serve Sales
 5   Speek, Plaintiff was unable to effectuate service. (Id.) Plaintiff’s counsel also
 6   reached out to Nesheiwat’s counsel to request that his client accept service of the
 7   subpoena. (Id. ¶ 6.) Nesheiwat and his counsel refused to accept service. (Id.)
 8         On August 9, 2021, having been unable to serve the initial subpoena, Plaintiff
 9   issued a second subpoena to produce documents, information, or objects or to
10   permit inspection of premises in a civil action directed to third-party, Sales Speek,
11   Inc., which specified a response date of September 9, 2021. (See Ex. A.) The
12   subpoena sought, inter alia, documents concerning Sales Speek’s relationship with
13   the defendants and student loan consolidation entities, records of payments received
14   as a result of the procurement of consumer reports, and communications relating the
15   procurement of consumer reports. (Id.) On September 2, 2021, Plaintiff served a
16   copy of the subpoena on Jawad Nesheiwat, Sales Speek’s president and registered
17   agent. (Proof of Service, attached hereto as Ex. D.)
18         On September 9, 2021, Nesheiwat’s counsel sent Plaintiff a letter on behalf
19   of Sales Speek. (See Sept. 9th Letter, attached hereto as Ex. E.) The letter purported
20   to “return” the subpoena without action because, supposedly, Sales Speek “does not
21   exist.” (Id.) On September 17, 2021, Plaintiff’s counsel served a discovery dispute
22   letter, which requested that Sales Speek provide a complete response to the
23   subpoena or provide availability to confer regarding a motion to compel. (Letter of
24   Sept. 17, 2021, attached hereto as Ex. F.)
25         Nesheiwat’s counsel responded by sending a second letter that again claimed
26   Sales Speek does not exist and stating that Plaintiff has “provided no evidence that
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -3-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 5 of 11 Page ID #:673




 1   Sales Speek ever conducted any business in California or elsewhere.” (Sept. 23rd
 2   Letter, attached hereto as Ex. G, pgs. 1-2.) The letter further stated that Plaintiff
 3   may consider the response sufficient for conferral purposes under the local rules.
 4   (See id. at pg. 2.) Plaintiff responded by directing Nesheiwat’s counsel to the
 5   previously produced contracts that Nesheiwat signed on behalf of Sales Speek.
 6   (Smith Decl. ¶ 11.) Despite additional follow up requests, Nesheiwat’s counsel has
 7   refused to confer regarding the subpoena. (Id. ¶ 12.) Sales Speek has not provided
 8   any response or served any objections to the subpoena. (Id.)
 9         Based on these facts, Plaintiff requests that the Court enter an order
10   compelling Sales Speek to respond to the subject subpoena and issue an order to
11   show cause for why it should not be held in contempt.
12                2.     The Court Has Jurisdiction To Enforce The Subpoena.
13         Under the Federal Rules of Civil Procedure, “only a court in the district of
14   the place of compliance has jurisdiction to compel compliance, or modify or quash
15   a subpoena.” Youngevity Int’l, Corp. v. Smith, No. 16-CV-704 BTM (JLB), 2017
16   WL 6418961, at *3 (S.D. Cal. Dec. 15, 2017) (collecting cases). A subpoena may
17   require a non-party witness to produce documents, electronically stored
18   information, or tangible things at a place within 100 miles of where the person
19   resides, is employed, or regularly transacts business in person. Fed. R. Civ. P. 45(c);
20   see also In re Subpoena to VaughnPerling, No. 219MC00083CASEX, 2019 WL
21   8012372 (C.D. Cal. Dec. 2, 2019). Thus, “the place of compliance is tethered to the
22   location of the subpoenaed person.” Youngevity Int'l, Corp., 2017 WL 6418961, at
23   *3 (citation omitted).
24         This Court possesses jurisdiction to enforce the Sales Speek Subpoena.
25   Plaintiff served the subpoena on Sales Speek, which is a California corporation with
26   a principal place of business located in this district at 26631 Cuenca Dr, Mission
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -4-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 6 of 11 Page ID #:674




 1   Viejo, California 92691. (See Smith Decl. ¶ 4.) Since the place of compliance is
 2   tethered to the location of the recipient, this District is the appropriate forum to
 3   enforce the Sales Speek Subpoena.
 4                3.     Plaintiff Properly Served The Subpoena Upon Sales Speek.
 5         Service of a subpoena “requires delivering a copy to the named person[.]”
 6   Fed. R. Civ. P. 45(b)(1). While there is a growing trend among courts to allow for
 7   substitute service, “[t]he majority of courts understand ‘delivering’ to require
 8   personal service of the subpoena.” In re Subpoena to VaughnPerling, No.
 9   219MC00083CASEX, 2019 WL 8012372, at *3 (C.D. Cal. Dec. 2, 2019) (citing
10   Fujikura Ltd. v. Finisar Corp., No. 15-mc-80110-HRL-JSC, 2015 WL 5782351, at
11   *5 (N.D. Cal. Oct. 5, 2015); Charles A. Wright & Arthur R. Miller, 9A Fed. Prac. &
12   Proc. Civ. § 2454 (3d ed.)) (emphasis in original).
13         Here, Plaintiff effectuated service of the subpoena upon Sales Speek on
14   September 2, 2021. (Proof of Service, Ex. D.) The subpoena was delivered to Sales
15   Speek’s president and registered agent, Jawad Nesheiwat. (Id.; Smith Decl. ¶ 4.)
16   Despite being properly served, Sales Speek has refused to provide a response to the
17   subpoena or serve any objections. (Smith Decl. ¶ 12.) Hence, it has waived any
18   objections to the sufficiency of service. See Kwong Mei Lan Mirana v. Battery Tai-
19   Shing Corp., No. 08-cv-80142-JF-RS, 2009 WL 290459, at *2 (N.D. Cal. Feb. 5,
20   2009) (“[w]here a party has actual notice, failure to make a timely objection waives
21   insufficiency of service.”).
22         Therefore, the Court should find that Sales Speek was properly served with
23   the subject subpoena.
24                4.     By Ignoring The Subpoena, Sales Speek Waived All
25                       Objections And Should Be Compelled To Respond.
26         “Under Rule 45, any party may serve a subpoena commanding a nonparty ‘to
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -5-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 7 of 11 Page ID #:675




 1   attend and give testimony or to produce and permit inspection and copying of’
 2   documents.” Rich v. Kirkland, No. CV 11-4272-JLS (SPX), 2015 WL 7185390
 3   (C.D. Cal. Nov. 13, 2015) (citing Fed. R. Civ. P. 45(a)(1)(C)). Thereafter, a non-
 4   party “must serve its objections ‘before the earlier of the time specified for
 5   compliance or within 14 days after the subpoena is served.’” Juno Therapeutics,
 6   Inc. v. Kite Pharma, Inc., No. CV 17-7639-SJO-KSX, 2019 WL 3069009, at *3
 7   (C.D. Cal. Apr. 29, 2019) (citing Fed. R. Civ. P. 45(d)(2)(B)). “A non-party’s
 8   failure to timely make objections to a Rule 45 subpoena ... generally requires the
 9   court to find that any objections have been waived.” Id. (citation omitted); Poly-
10   Med, Inc. v. Novus Sci. PTE Ltd., No. 17-CV-649-DMS-WVG, 2017 WL 2291942,
11   at *2 (S.D. Cal. May 25, 2017) (citation omitted). Further, where a nonparty fails to
12   respond, a court may grant a motion to compel compliance with a subpoena. See In
13   re Subpoena to VaughnPerling, No. 219MC00083CASEX, 2019 WL 8012372, at
14   *3 (C.D. Cal. Dec. 2, 2019) (citing Miranda v. Hokinson, No. 2:07-cv-0609-JHN-
15   RC, 2008 WL 11337227, at *2 (C.D. Cal. Dec. 12, 2008)) (“The Court may also
16   grant a motion to compel compliance with a Rule 45 subpoena, however, where the
17   nonparty has not formally objected but has instead failed to respond.”).
18         In this case, Sales Speek’s actions warrant an Order compelling compliance.
19   That is, Sales Speek was served on September 2, 2021. (See Proof of Service, Ex.
20   D.) The response date was September 9, 2021. (See Sales Speek Subpoena, Ex. A.)
21   To date, Sales Speek has failed to respond or serve any objections to the subpoena.
22   (See Smith Decl. ¶ 12.) Counsel for Plaintiff has made numerous attempts to
23   procure a response through informal resolution efforts to no avail. (See id. ¶¶ 9-12.)
24   Instead, Sales Speek has continued to ignore the subpoena and therefore has waived
25   any objections that it may have asserted.
26         Additionally, in response, Plaintiff anticipates that Sales Speek will claim
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -6-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 8 of 11 Page ID #:676




 1   that it does not exist. But this is inaccurate. Indeed, Plaintiff has provided Sales
 2   Speek’s incorporation documents, which was filed with the California Secretary of
 3   State. (See Sales Speek Business Filings, attached as Exhibit 1 to Smith Decl.)
 4   Plaintiff has also provided contracts that Sales Speek entered into in this State. (Ex.
 5   B.) And even if Sales Speek claims that it dissolved (there is no evidence of this),
 6   this doesn’t pose an issue. Indeed, under California law:
 7         A corporation which is dissolved nevertheless continues to exist for the
 8         purpose of winding up its affairs, prosecuting and defending actions by
 9         or against it and enabling it to collect and discharge obligations, dispose
10         of and convey its property and collect and divide its assets, but not for
11         the purpose of continuing business except so far as necessary for the
12         winding up thereof.
13   Cal. Corp. Code § 2010 (West); see also City of Rialto v. U.S. Dep’t of Def., 492 F.
14   Supp. 2d 1193, 1197 (C.D. Cal. 2007). Because dissolved corporations retain their
15   right to prosecute and defend legal claims, courts are clear that they likewise remain
16   obligated to respond to valid subpoenas. See In re Grand Jury Subpoenas Issued to
17   Thirteen Corps., 775 F.2d 43, 48 (2d Cir. 1985) (finding that a dissolved
18   corporation has a duty to respond to a subpoena); Luv N’ Care, Ltd. v. Laurain, No.
19   218CV02224JADEJY, 2019 WL 4696399, at *2 (D. Nev. Sept. 26, 2019)
20   (enforcing a subpoena against a dissolved entity).
21         Ultimately, Sales Speek should be compelled to respond. Absent such an
22   order, Sales Speek will continue to ignore the subpoena. Plaintiff therefore requests
23   that the Court enter an order compelling Sales Speek to provide a complete
24   response to the subpoena to produce documents within fourteen (14) days.
25                5.     Sales Speek’s Actions Also Necessitate An Order To Show
26                       Cause Why It Should Not Be Held In Contempt.
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -7-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 9 of 11 Page ID #:677




 1         Finally, the Court “may hold in contempt a person who, having been served,
 2   fails without adequate excuse to obey the subpoena or an order related to it.” Fed.
 3   R. Civ. P. 45(g). “Civil contempt is intended ‘to coerce [a party] into compliance
 4   with the court’s order” or “to compensate the complainant for losses sustained”
 5   from the noncompliance.’” Pongsai v. Am. Express Co., No. Case No. 8:19-cv-
 6   01628-DOC, 2020 WL 6115086, at *1 (C.D. Cal. Aug. 27, 2020) (citation omitted).
 7   To establish civil contempt, “the moving party must show by clear and convincing
 8   evidence that the contemnor has violated a clear and specific court order.” Id. at *2.
 9   Once the movant has made that showing, “the burden shifts to the contemnor to
10   show that he or she took every reasonable step to comply and to explain why
11   compliance was not possible.” Id. (collecting cases). Of course, a subpoena “is itself
12   a court order, and noncompliance may warrant contempt sanctions.” Poly-Med,
13   Inc., 2017 WL 2291942, at *2 (citing Pennwalt Corp. v. Durand-Wayland, Inc., 708
14   F.2d 492, n.5 (9th Cir. 1983)).
15         Here, Sales Speek’s actions warrant contempt sanctions. As explained above,
16   Sales Speek was properly served with the Sales Speek Subpoena. To date—two
17   months after service of the subpoena—Sales Speek has refused to respond to the
18   subpoena in any meaningful way. Instead, Sales Speek “returned” the subpoena to
19   Plaintiff’s counsel and claimed that it “does not exist.” (Exs. E & G.) As previously
20   explained, this assertion is false. No grounds support Sales Speek’s refusal to
21   respond to the subject subpoena.
22         Further, while Sales Speek is a nonparty, it shouldn’t be overlooked that its
23   owner and president is Jawad Nesheiwat, a defendant in this case who has already
24   been reminded of his Rule 11 obligations. (See Dkt. 83, pg. 2 (“The Court generally
25   reminds Nesheiwat and his counsel of their obligations under Federal Rule of Civil
26   Procedure 11.”).) Nevertheless, Nesheiwat has refused to comply with the subject
27
                       STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                              -8-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 10 of 11 Page ID #:678




 1   subpoena without any reasonable basis. Instead, Nesheiwat attempts to reimagine
 2   the past by claiming (without support) that Sales Speek does not exist. Enough is
 3   enough: the Court should step in and order Sales Speek to show cause.
 4                 6.     Conclusion
 5           For the foregoing reasons, Plaintiff requests that the Court enter an order
 6   compelling Sales Speek to provide a complete response to the Sales Speek
 7   Subpoena within fourteen (14) days, issue an order to show cause by it should not
 8   be held in contempt, and for such additional relief as the Court deems necessary and
 9   just.
10           B.    Sales Speek’s Contentions And Points Of Authorities
11           As evinced by the Response to the Sales Speek Subpoena, Exhibit H,
12   plaintiff’s motion is moot.
13                                             Respectfully submitted,
14
     Dated: November 16, 2021                  By:     /s/ Taylor T. Smith
15
16                                             Aaron D. Aftergood (239853)
                                               THE AFTERGOOD LAW FIRM
17                                             1880 Century Park East, Suite 200
                                               Los Angeles, CA 90067
18                                             Telephone: (310) 550-5221
                                               Facsimile: (310) 496-2840
19                                             Taylor T. Smith (admitted pro hac vice)
20                                               tsmith@woodrowpeluso.com
                                               WOODROW & PELUSO, LLC
21                                             3900 East Mexico Avenue, Suite 300
                                               Denver, Colorado 80210
22                                             Telephone: (720) 907-7628
                                               Facsimile: (303) 927-0809
23                                             Attorneys for Plaintiff Erica Reiners
24                                             and the Class

25
26
27
                        STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                               -9-
Case 2:20-cv-06587-SB-ADS Document 87 Filed 11/16/21 Page 11 of 11 Page ID #:679




 1   Dated: November 16, 2021.               By:        /s/ Peter D. Lepiscopo
 2                                           Peter D. Lepiscopo
                                             Lepiscopo and Associates Law Firm
 3                                           695 Town Center Drive 7th Floor
                                             Costa Mesa, CA 92626
 4                                           619-251-2428
                                             Fax: 619-330-2991
 5                                           Email: plepiscopo@att.net
 6                                           Attorney for Jawad Nesheiwat, Defendant
 7
 8
 9
10
11                           SIGNATURE CERTIFICATION
12         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Sales Speek,
13   Inc.’s counsel concurs with the content of this document and has authorized me to
14   affix his signature to the document and file the same with the Court.
15                                           /s/ Taylor T. Smith
16
17
18
19
                              CERTIFICATE OF SERVICE
20
           The undersigned hereby certifies that a true and correct copy of the above
21
     titled document was served upon counsel of record by filing such papers via the
22
     Court’s ECF system on November 16, 2021.
23
                                             /s/ Taylor T. Smith
24
25
26
27
                      STIPULATION ON MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
28                                             - 10 -
